Case 2:18-cv-06296-JKS-CLW           Document 301       Filed 03/17/25    Page 1 of 5 PageID:
                                           3366




                                        March 17, 2025

Hon. Cathy L. Waldor
Martin Luther King Jr. Courthouse
50 Walnut Street
Room 4040, Courtroom 4C
Newark, New Jersey 07101

       RE:             Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                       Case No.: 2:18-cv-06296-ES-CLW

Dear Judge Waldor:

        Please accept this letter pursuant to the Court’s order of March 13, 2025, which
permitted me to respond to the allegations outlined in Messrs. Warshaw and Miller’s
joint letter of March 12, 2025 (Dkt. 295). I understand that the parties have received an
email from Sean Harrington which concerns a host of issues about me. For your
information, Mr. Harrington has sent the same unsolicited email to numerous CFS
clients, lawyers, Courts, friends, and others throughout the past weeks.

       A.       Allegations Made Against Me Relating to This Case

       First, as it relates to this case, CFS uses Vonage for its phone system, which
permits the recording of telephone conversations. Consequently, CFS possesses
numerous recordings between individuals from my office and Mr. Miller, counsel for
ACU Plasmold. Your Honor is welcome to copies of any, or all, of these recordings. Mr.
Miller did, in fact, participate in numerous ex parte calls with CFS, without Vision’s
counsel present.

       For Your Honor’s convenience, I have listened to many of those recordings, and I
have summarized them below (and include the relevant cites to ACU Plasmold’s March
12, 2025 letter). Among what Messrs. Miller and Warshaw have classified as three (3)
“vicious lies” are the following statements that they claim I have made in this case:

            •   Mr. Miller said that he told Mr. Quach to erase his hard drives. (See March
                12, 2025 Ltr. at 3). In a recorded call from October 12, 2021, Miller said to a
                CFS representative: “Okay, well I’m an idiot, because he asked me, ‘you
                know can I delete my personal stuff’ and I said ‘yeah.’”

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Case 2:18-cv-06296-JKS-CLW         Document 301       Filed 03/17/25    Page 2 of 5 PageID:
                                         3367




           •   Mr. Miller told CFS to write that all data had been recovered. (See id.). In a
               recording of a January 19, 2021 call Mr. Miller asked Nate Dittmar, one of
               CFS’s analysts, to state that all data John Quach deleted from the
               computer could be recovered. Dittmar responded that he could not make
               that statement and emphasized that he needed to be careful with his
               language to avoid making an inaccurate claim. Miller then said, “The
               question is, can you retrieve all documents and financial information that
               John Quach saved on this computer during the past year? And the answer
               to that question is yes.” Mr. Dittmar replied, “I can’t answer that question
               the way you want me to.”
           •   I am accused of stating that Mr. Miller said, “the court can go f* itself.”
               This is false. I have never made this statement. During a recorded call on
               November 3, 2021, Miller and CFS, Dittmar explained to Miller that
               Michael Cukor emailed him and asked Miller if he should respond. Miller
               replied, “With all due respect to Evelyn and Michael, f* them. Don’t
               respond to them.” Alternatively, Mr. Miller may be referring to a recorded
               call from November 1, 2021, in which he said, “the court shall act
               appropriately. What is [sic] appropriately mean? ‘Appropriately’ means
               she will f* us so bad. How will she f* us? She will bar our expert witness
               from testifying if we do not produce the information.”

       Again, I am able to provide Your Honor with copies of any and all recordings
between people from my office and Mr. Miller. I believe that those recordings will
support my statements. I believe it will also provide a basis for Your Honor to evaluate
the veracity of Messrs. Miller and Warshaw’s contention that their letter “invalidates
everything that came out of [my mouth] in this case.” (Dkt. 295 at 4).

      B.       Sean Harrington & His Additional Allegations Against Me

       As noted above, for the past several months, Mr. Harrington has been sending an
email to numerous persons that is substantially similar to the one received by the
parties in this case. He has sent this email to CFS’s clients (even those who work with
my employees and not me), my friends, news outlets, prosecutors, law enforcement,
Courts and court staff, professional associations, and others across the country.

        Thankfully, those who know me know Mr. Harrington’s allegations are untrue.
But others have taken a different approach, such as here. Indeed, Messrs. Miller and
Warshaw have blindly taken Mr. Harrington’s allegations and passed them to Your
Honor as true. Consequently, I respectfully provide Your Honor with information that
persons such as Messrs. Miller and Warshaw failed to note or obtain before leveling
their false allegations against me.


2
Case 2:18-cv-06296-JKS-CLW         Document 301      Filed 03/17/25     Page 3 of 5 PageID:
                                         3368




              1. Mr. Harrington is a competitor of CFS

      Mr. Harrington is a competitor of CFS (See www.adamantdigitalforensics.com).
He has been hired as an expert against CFS—twice in the past ten years, by my count. I
met him only once, about fifteen years ago, and since that time, the only contact I have
had with him has been related to his myriad attacks.

              2. A federal-court decision describes Mr. Harrington’s mental
                 instability

      In 2023, my name appeared in a news article related to a high-profile case where
CFS provided services. Within days, Mr. Harrington sent me an email directly
expressing both his seeming admiration for me, but also his displeasure with certain
materials that I covered in a presentation to lawyers. Because I did not remember who
he was, I decided to research him after I received the email.

        I learned that Mr. Harrington struggles with mental health issues, and so I have
done my best to ask him to stop/ignore him. In Harrington v. Wilson, 242 Fed. Appx.
514, 515–16 (10th Cir. July 18, 2007), the appellant is “Sean Lee Harrington,” who
happens to share a birthday with the Sean Harrington who contacted the parties. In
district court, the federal judge reviewing his filings described them as “frivolous,”
“senseless,” “harassing,” “rambling,” and “prolix.” His objections alone spanned 2,610
pages plus another sixty pages of exhibits. (See Harrington v. Wilson, et al., 05-cv-01858,
Dkt. 73 at 15, see also Dkt. 80 at 2). This same individual documented an extensive
history of psychiatric diagnoses, including bipolar disorder, narcissistic personality
disorder, ADHD, PTSD, and more. (See id. at 5, citing Dkt. 22-2 at 1).

        Sean Lee Harrington was “served with an order to vacate his home because he
was allegedly destroying it…[and] was taken to the state mental hospital … where he
remained confined for three months...” (Id. at 5). Mr. Harrington’s ex-wife stated that he
“is paranoid and potentially homicidal when he does not take his medication.” She also
states that Mr. Harrington “is (or was) schizophrenic.” (See attach. Ex. A ¶ 217, for a
“non-exhaustive” list of claims, see also Ex. A fn. 7, “Mr. Harrington has had several
hospitalizations at West Pines at Lutheran Medical Center and St. Joseph's PsychCenter
due to mental illness. He has been diagnosed with Bipolar Disorder, with psychotic
features, and Narcissistic Personality Disorder. He has also had a past diagnosis of
schizophrenia. Mr. Harrington has been prescribed anti-psychotic and mood stabilizing
medications, which he has refused to take. Consequently, he has deteriorated... He has
many weapons and has threatened to use them on anyone he perceives as a threat.”).




3
Case 2:18-cv-06296-JKS-CLW       Document 301      Filed 03/17/25    Page 4 of 5 PageID:
                                       3369




       For years, I have feared for my family’s safety because of Mr. Harrington’s
obsession with me. As with his initial contact with me, it appears that Mr. Harrington is
triggered when CFS is in the media (which it was approximately 4-5 weeks ago).
Accordingly, I am especially observant around my home when CFS or I am in the
media.

             3. Upsala College

       Mr. Miller and Mr. Warshaw, echoing Mr. Harrington’s allegations, have
attempted to discredit me by claiming that I misrepresented my academic credentials
from Upsala College. Upsala College went bankrupt in 1995. When I attended Upsala, I
was a commuter student who lived with my grandparents in Morristown, New Jersey
approximately 30 minutes away from Upsala College. With limited resources, I did not
participate in campus social events, nor did I attend graduation ceremonies. In 2023, I
confirmed with Felician University—which maintains Upsala College’s records—that
they could not locate my transcripts or diploma, a situation that they indicated was
possibly due to unresolved money-related issues.

        I have no reason, motive, or incentive to fabricate academic credentials—much
less from a small, defunct, and bankrupt institution. For nearly 25 years, I have
transparently and consistently included Upsala College on my CV without objection or
question from employers, opposing counsel, or the numerous courts before which I
have testified. This is probably because my professional endeavors have never required
holding a degree from any academic institution, but here we are.

             4. Harvard University

        Regarding Mr. Harrington’s allegations about my Harvard studies, I completed a
certificate program in Cybersecurity from April to July 2018. I have provided Your
Honor a copy for reference. (See attach. Ex. B.)

             5. The Afremov Litigation

        The parties have referenced the Afremov litigation. CFS and I were involved in
that matter. The case involved a billing dispute between CFS and a former client. In
their submission to Your Honor, they provide an out-of-context quotation from the first
district-court judge. While that quote is accurate, what is notably missing from any
representations made to Your Honor is the fact that the case was appealed to the
Minnesota Court of Appeals, which reversed and remanded the District Court’s
decision cited by Messrs. Miller and Warshaw. The Minnesota Court of Appeals relied
on my presumably credible testimony in reaching its conclusion: “Lanterman’s
testimony established that CFS’s damages from Afremov’s breach of contract included


4
Case 2:18-cv-06296-JKS-CLW       Document 301         Filed 03/17/25   Page 5 of 5 PageID:
                                       3370




lost payments for computer run-time and flat-rate fees as well as analyst time…The
district court’s error was not harmless.” (See attach. Ex. C CFS v. Afremov, A15-0729 at
14).

      On remand, the jury entered a verdict in CFS’s favor, awarding us every penny
we requested. Mr. Afremov appealed, and the jury verdict was affirmed.

      C.     Conclusion

       I understand that this is a highly unusual situation. While this letter cannot
possibly address every allegation and statement made about me in this matter and by
Mr. Harrington, I hope it provides Your Honor enough information to weigh my
credibility. Thank you for your attention to this matter.

      Please do not hesitate to contact me if you require additional information or have
any further questions.


                                         Sincerely,


                                         /s/Mark Lanterman




5
